               IN THE UNITED STATES DISTRICT COURT

          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA                :
                                        :
                v.                      :     1:20CR430-2
                                        :
JASON SHUANG XU                         :


                        JOINT STATUS REPORT

Pursuant to the applicable Scheduling Order, Counsel for the defendant and

Counsel for the Government inform the Court as follows:

☐    A plea agreement has been signed and filed.

☒     The parties have agreed on a plea agreement. The defendant has
agreed to plead guilty to an Information in case 1:20CR479-1 The instant
charge will be dismissed as part of the plea agreement. The defendant has
signed a plea agreement which will be filed on or before December 4, 2020.
☐     The defendant intends to plead guilty without a written
      plea agreement.

     If any of the above three boxes is checked, check at least one
     box below:
     ☒     the defendant consents to a video conference Rule 11 hearing.
     ☐     the defendant consents to a teleconference Rule 11 hearing.
     ☐     the defendant is or will be ready to proceed with a Rule 11
           hearing as soon as an in-person hearing can be scheduled.
☐    The matter is not ready for Rule 11 hearing or trial because:
     ☐     there is a pending motion which must be resolved. The motion is
           on the docket at Doc.
           The motion ☐ does ☐ does not require a hearing at which the
           defendant must be present.
     ☐ There are outstanding discovery issues which must be resolved.




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☐    The defendant does not intend to plead guilty and the case needs to be
     set for jury trial.
☐    The parties have discussed the requirements of the Speedy Trial Act
     and
     ☐      The Government [ ] has filed [ ] intends to file a motion to exclude
            time from Speedy Trial Act calculations, to which the defendant
            will not or does not object.
     ☐      There are no Speedy Trial Act issues.


☐ Other information relevant to scheduling:

☐ If the parties agree on a scheduling or case management plan, provide the
agreement here or in an attachment, with any explanation needed as to its
propriety:

     This, the 1st day of December, 2020.


MATTHEW G.T. MARTIN                       /S/CHRISTOPHER BEECHLER
United States Attorney                    CHRISTOPHER BEECHLER
                                          Attorney for Defendant

/S/ SANDRA J. HAIRSTON
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